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                                                                         Secretary

                                                                         U.S. Department of Homeland Security
                                                                         Washington, DC 20528




                                          July 28, 2020

    MEMORANDUM FOR:               Mark Morgan
                                  Senior Official Performing the Duties of Commissioner
                                  U.S. Customs and Border Protection
                                  Matthew Albence
                                  Senior Official Performing the Duties of Director
                                  U.S. Immigration and Customs Enforcement
                                  Joseph Edlow
                                  Deputy Director of Policy
                                  U.S. Citizenship and Immigration Services
    FROM:                         Chad F. Wolf
                                  Acting Secretary
    SUBJECT:                      Reconsideration of the June 15, 2012 Memorandum
                                  Entitled “Exercising Prosecutorial Discretion with Respect to
                                  Individuals Who Came to the United States as Children”

    On June 15, 2012, Secretary of Homeland Security Janet Napolitano established the policy
    known as Deferred Action for Childhood Arrivals (DACA) through a memorandum entitled
    “Exercising Prosecutorial Discretion with Respect to Individuals Who Came to the United States
    as Children.” Ever since, the policy has been subject to substantial controversy. In recent years,
    Acting Secretary of Homeland Security Elaine Duke and Secretary of Homeland Security
    Kirstjen Nielsen concluded that the DACA policy should be fully rescinded and issued additional
    memoranda in 2017 and 2018, respectively, to effect that decision.

    On June 18, 2020, the U.S. Supreme Court issued a decision that did not question the authority
    of the Department of Homeland Security (DHS) to rescind the DACA policy, but determined
    that the 2017 and 2018 memoranda had not complied with certain requirements for doing so.
    See Department of Homeland Security v. Regents of the University of California, Nos. 18-587,
    18-588, 18-589. Accordingly, the Court concluded that the rescission must be vacated and
    remanded to DHS so that it “may consider the problem anew.” Regents, Slip op. at 29.

    By this memorandum, I am rescinding the 2017 and 2018 memoranda, and making certain
    immediate changes to the DACA policy to facilitate my thorough consideration of how to
    address DACA in light of the Supreme Court’s decision. For the reasons outlined below,
    pending my full reconsideration of the DACA policy, I direct DHS personnel to take all
    appropriate actions to reject all pending and future initial requests for DACA, to reject all



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    pending and future applications for advance parole absent exceptional circumstances, and to
    shorten DACA renewals consistent with the parameters established in this memorandum.

    Background

    On June 15, 2012, Secretary Napolitano issued the memorandum (Napolitano Memorandum)
    establishing the DACA policy. The policy provided for the granting of deferred action to certain
    individuals with no lawful immigration status “who were brought to this country as children” and
    who satisfied a list of additional specified criteria. The memorandum described this deferred
    action as an exercise of “prosecutorial discretion” to forbear from removing an alien who would
    otherwise be subject to removal. Under pre-existing regulations, a grant of deferred action made
    aliens eligible for certain other attendant benefits, such as work authorization. The memorandum
    directed U.S. Immigration and Customs Enforcement (ICE) and U.S. Citizenship and
    Immigration Services (USCIS) to establish procedures for granting deferred action and work
    authorization to eligible aliens for a two-year period, subject to renewal, and for notifying those
    aliens of DHS’s decision to do so. The memorandum stated, however, that it “confer[red] no
    substantive right, immigration status or pathway to citizenship.”

    On November 20, 2014, Secretary of Homeland Security Jeh Johnson issued a memorandum
    (Johnson Memorandum) to expand the DACA policy and establish a new, related policy known
    as Deferred Action for Parents of Americans and Lawful Permanent Residents (DAPA). With
    regard to DACA, this memorandum eliminated a criterion relating to the age of DACA
    requestors when the policy was announced, extended the deferred-action and work-authorization
    period from two to three years, and adjusted the date by which requestors must have entered the
    United States to be eligible for DACA. The DAPA policy allowed for deferred action to be
    provided to certain parents whose children are U.S. citizens or lawful permanent residents
    through a process similar to DACA.

    Shortly thereafter, the U.S. District Court for the Southern District of Texas issued a nationwide
    preliminary injunction preventing both the DAPA policy and the expansion of the DACA policy
    from taking effect. In 2015, the U.S. Court of Appeals for the Fifth Circuit affirmed, holding
    that DAPA and expanded DACA likely violated both the Administrative Procedure Act (APA)
    and the Immigration and Nationality Act (INA). In 2016, the U.S. Supreme Court affirmed the
    court of appeals’ decision by an equally divided vote. On June 15, 2017, Secretary of Homeland
    Security John Kelly issued a memorandum rescinding the Johnson Memorandum.

    Also in June 2017, several of the state plaintiffs from the Texas lawsuit announced their intent to
    amend their complaint in the then still-pending litigation to challenge the original DACA policy
    as well. The States argued that the DACA policy was unlawful for the same reasons as the
    DAPA policy and the expansion of the DACA policy. On September 4, 2017, then-Attorney
    General Jefferson B. Sessions III issued a letter to Acting Secretary Duke (Sessions Letter),
    concluding that the DACA policy was indeed unlawful and likely would also be enjoined.

    On September 5, 2017, Acting Secretary Duke issued her memorandum (Duke Memorandum)
    rescinding the Napolitano Memorandum and initiating an orderly wind-down of the DACA
    policy. The Duke Memorandum explained that, “[t]aking into consideration the Supreme
    Court’s and the Fifth Circuit’s rulings” in the litigation concerning the Johnson Memorandum,
    and the Sessions Letter, it was clear to the Acting Secretary that the DACA policy “should be
    terminated.”



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    Litigation challenging the Duke Memorandum promptly ensued. As relevant here, suits were
    filed in the U.S. District Courts for the Northern District of California, Eastern District of New
    York, District of Maryland, and the District of Columbia. The District of Columbia district court
    vacated the rescission entirely, but stayed its ruling for 90 days to permit DHS to reissue a
    memorandum rescinding the DACA policy and providing a fuller explanation.

    In response to that ruling, on June 22, 2018, Secretary Nielsen issued an additional memorandum
    (Nielsen Memorandum) providing further explanation for the rescission of the DACA policy.
    The Nielsen Memorandum explained that “the DACA policy properly was—and should be—
    rescinded, for several separate and independently sufficient reasons,” including that the policy is
    contrary to law; that, even if it were not unlawful, Secretary Nielsen lacked sufficient confidence
    in the policy’s legality to continue it; and that it was not sound enforcement policy in multiple
    respects. Despite the Nielsen Memorandum, the District of Columbia district court declined to
    reconsider its previous order vacating the rescission.

    On June 18, 2020, having granted review in the California, New York, and D.C. cases, the U.S.
    Supreme Court held that the rescission of the DACA policy must be vacated. See Department of
    Homeland Security v. Regents of the University of California, Nos. 18-587, 18-588, 18-589.
    The Court observed that “[a]ll parties agree[d]” that “DHS may rescind DACA,” and the Court
    provided no reason to doubt that consensus. Slip op. at 9. But it held that DHS violated the
    APA in the manner in which it had rescinded the policy.

    As a threshold matter, the Court determined that, although agency non-enforcement decisions are
    generally not reviewable under the APA, the rescission of the DACA policy was reviewable
    “because DACA is not simply a non-enforcement policy.” Id. at 11. Rather, the Court stated,
    the Napolitano Memorandum “created a program for conferring affirmative immigration relief,”
    the creation and rescission of which is subject to review under the APA. Id. And it added that
    the “benefits attendant to deferred action provide further confirmation that DACA is more than
    simply a non-enforcement policy.” Id.

    On the merits, the Court found that when DHS rescinded the DACA policy, it failed to consider
    important aspects of the problem. In making that determination, the Court declined to consider
    the Nielsen Memorandum. Instead, the Court characterized that memorandum as an
    impermissible post hoc rationalization of the rescission, because in the Court’s view Secretary
    Nielsen “chose to elaborate on the reasons for the initial rescission rather than take new
    administrative action.” Id. at 14. As to the Duke Memorandum, the Court held that it was
    arbitrary and capricious because (1) the Acting Secretary did not adequately consider whether
    DHS could and should address the illegality of the DACA policy by retaining the forbearance
    aspect of the policy (i.e., deferred action), while declining to make DACA recipients eligible for
    the other associated benefits, such as work authorization, id. at 17-23; and (2) the Acting
    Secretary did not adequately consider how, if at all, to address any “legitimate reliance ” on the
    Napolitano Memorandum, id. at 23-26. The Court thus concluded that the rescission must be
    vacated and that the matter should be “remand[ed] to DHS so that it may consider the problem
    anew.” Id. at 29.

    The Court affirmed the District of Columbia district court’s final judgment, vacated the Ninth
    Circuit’s affirmance of the preliminary injunction issued by the Northern District of California,
    and vacated the preliminary injunction issued by the Eastern District of New York. Id.




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    On June 30, 2020, Attorney General William Barr withdrew the Sessions Letter and directed the
    Department of Justice’s Office of Legal Counsel to withdraw all guidance it had provided to
    DHS on the legality of DACA and related deferred-action policies, including an Office of Legal
    Counsel opinion that briefly addressed the legality of DACA in connection with related deferred-
    action policies. Attorney General Barr explained that he did not “wish to maintain a
    determination as the Attorney General about the legality of DACA that might constrain the
    discretion [I] otherwise possess as Acting Secretary of Homeland Security to consider whether
    and how to rescind DACA.”

    Rescission of the Nielsen and Duke Memoranda, and Reconsideration of the Napolitano
    Memoranda

    In light of the Supreme Court’s decision to vacate the Duke Memorandum and remand to the
    Department of Homeland Security, and in my capacity as the Acting Secretary of Homeland
    Security, I am considering anew the DACA policy. To date, I have considered the Napolitano
    Memorandum itself, the Duke Memorandum and Acting Secretary Duke’s accompanying
    statement, the Nielsen Memorandum, the administrative record produced in litigation
    challenging the Duke Memorandum, the briefs and joint appendix filed in the Supreme Court
    from that litigation, the joint appendix filed in the Fourth Circuit on appeal in the District of
    Maryland litigation, all of the judicial opinions issued in the litigation over the Duke
    Memorandum, including the June 18 decision of the Supreme Court, the letter from Attorney
    General Barr, and letters expressing support for the DACA policy that have been submitted to
    the President and DHS since the Supreme Court’s June 18 decision.

    As those materials demonstrate, whether to retain the DACA policy presents significant
    questions of law and legal policy. More importantly for present purposes, having considered
    those materials, I have concluded that the DACA policy, at a minimum, presents serious policy
    concerns that may warrant its full rescission. At the same time, I have concluded that fully
    rescinding the policy would be a significant administration decision that warrants additional
    careful consideration. Accordingly, in the exercise of my authority and discretion in establishing
    national immigration policies and priorities, see 8 U.S.C. § 1103(a)(1); 6 U.S.C. § 202(5), I am
    rescinding the Nielsen Memorandum and the Duke Memorandum, and making certain immediate
    changes to the DACA policy to mitigate my enforcement policy concerns while I conduct a full
    and careful consideration of a full rescission. Below, I address each of my enforcement policy
    concerns and then explain the immediate interim changes.

    Enforcement Policy Concerns: There are several reasons of enforcement policy that may
    warrant the full rescission of the DACA policy.

    First, even if the DACA policy could have been justified as a temporary measure when it was
    created, Congress arguably has had more than sufficient time to consider affording permanent
    status or immigration relief to the class of aliens covered by the policy. And yet, although
    various proposals have been advanced to do that, Congress has so far declined to take action.
    Particularly in the face of this failure to reach a legislative solution, I have serious doubts as to
    whether DHS should continue to provide either a reprieve from removal or a grant of attendant
    benefits to more than half a million aliens through a broad, class-based deferred-action policy.

    By contrast, rescinding DACA entirely may well create a more pressing need for Congress to
    decide whether it wants to address this issue and the underlying conditions that led to a



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    population of this size to remain in the United States in violation of our immigration laws for so
    long, and any other efforts to reform our immigration system in a manner that advances the
    national interest. As unilateral executive action, the DACA policy necessarily lacks the
    permanence of statutory law; it is more akin to a stopgap measure. For example, DACA
    recipients, as such, are not entitled to become lawful permanent residents and are not on a path to
    citizenship. Congress is best positioned to address that and other concerns on a more permanent
    basis through duly enacted statutes.

    Second, there has been much debate about the discretion exercised by DHS personnel in
    implementing the DACA policy. In my view, however, regardless of the amount of discretion
    that has been exercised or could be exercised under the policy, I have reservations as a matter of
    policy about setting out a list of detailed criteria, and maintaining a formal process, for non-
    enforcement. I am concerned that doing so may tilt the scales in deciding which aliens should
    receive deferred action and may inhibit individualized consideration of each case, at least for a
    non-enforcement policy of this scale.

    Third, because DHS is a law enforcement agency, I am concerned about sending mixed
    messages about DHS’s intention to consistently enforce the immigration laws as Congress has
    written them. DACA makes clear that, for certain large classes of individuals, DHS will at least
    tolerate, if not affirmatively sanction, their ongoing violation of the immigration laws. I am
    deeply troubled that the message communicated by non-enforcement policies like DACA may
    contribute to the general problem of illegal immigration in a manner that is inconsistent with
    DHS’s law enforcement mission.

    Fourth, these concerns are all the more pressing in the context of children. It is vitally important
    to convey a message that discourages individuals from undertaking what can often be a perilous
    journey to this country with no legitimate claim to enter or remain. Of course, the DACA policy
    would not apply to children who are sent or brought to this country today. But rescinding the
    DACA policy may further DHS’s efforts to discourage illegal immigration involving children
    going forward. By contrast, I am concerned that retaining the policy creates some risk of
    communicating the contrary message and encouraging such illegal conduct by suggesting a
    potential for similar future policies.

    Changes Pending Reconsideration of the DACA Policy: In accordance with the Supreme
    Court’s decision, I am determined to give careful consideration to whether the DACA policy
    should be maintained, rescinded, or modified. In the meantime, given my serious concerns about
    the policy, I have determined that some changes should immediately be made to the policy to
    limit its scope in the interim. First, while my reconsideration of the DACA policy continues, no
    new initial requests for DACA should be accepted. Second, advance parole should be granted to
    current DACA beneficiaries only in exceptional circumstances. Third, going forward, renewals
    of deferred action and the accompanying work authorization should be granted for one-year,
    rather than two-year, periods.

    These changes will mitigate my concerns without encroaching materially on the reliance interests
    that have been raised by individuals, organizations, and state and local governments during the
    course of the extensive litigation over the Duke and Nielsen Memoranda, and in recent letters to
    the President and DHS. As noted by the Supreme Court, these groups have argued that, as the
    Napolitano Memorandum itself stated, many DACA recipients were brought or sent to the
    country as children, through no fault of their own, and may have never known another home.



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    They assert that DACA recipients have structured their lives around the expectation that DHS
    would forbear from enforcing the immigration laws against them and have come to rely on the
    other associated benefits—like work authorization, Social Security, and Medicare, as well as
    advance parole—that are made available to DACA recipients. They point out that other parties,
    too, would be affected by the rescission of the DACA policy, including the family members,
    schools, employers, and employees of DACA recipients. They have offered estimates of the
    amount of economic activity DACA recipients generate and the federal, state, and local tax
    revenue that DACA recipients provide. And some have even argued that the current COVID-19
    and economic crises provide additional reasons to continue the DACA policy, in light of the
    many DACA recipients who have pursued careers in healthcare and other essential services or
    who serve in other critical roles in the workforce.

    Whatever the merits of these asserted reliance interests on the maintenance of the DACA policy,
    they are significantly lessened, if not entirely lacking, with regard to aliens who have never
    before received deferred action pursuant to the policy. And any reliance interests possessed by
    an alien or a third party within the United States on that alien’s ability to remain in the country
    does not depend on the extraordinary ability to come and go from the country as they please. In
    light of my concerns about the policy as a whole, I do not believe that, at least absent exceptional
    circumstances, DHS should continue to make the benefit of advance parole available while I
    reconsider whether the DACA policy itself should exist. Indeed, even after determining that
    DHS’s prior full rescission of the policy was likely unlawful, the district courts in the previous
    litigation did not require DHS to consider requests for DACA from aliens who had not
    previously received it or to grant any requests for advance parole. Accordingly, that has been the
    status quo for more than two years. It makes sense to continue that approach while I reconsider
    whether to rescind or revise the policy. If I ultimately determine to maintain the policy, there is
    nothing in the policy that would preclude aliens from making an initial request for DACA or
    renewing requests for advance parole at that time. And, even in the interim, nothing in this
    memorandum precludes the exercise of deferred action on a truly individualized, case-by-case
    basis when and if warranted.

    Nor are the asserted reliance interests significantly affected by shortening the renewal periods
    from two years to one year. Shortening renewal periods granted during this reconsideration
    period will have the potential benefit of significantly lessening the lasting effects of the DACA
    policy if I ultimately decide to rescind it. And the costs will be limited in the meantime, because
    the aliens who currently have DACA grants and have structured their affairs based on their
    expectation of its continuance may still seek renewal. They will merely have to seek renewal on
    an annual, rather than biannual, basis. In a similar manner, the third parties who are benefiting
    from those aliens’ continued presence today will continue to receive the same derivative benefits
    that they are receiving as long as the aliens’ renewals continue—whether on an annual or bi-
    annual basis. Put differently, even assuming that aliens with DACA have legitimate reliance
    interests in being able to renew at all, they have minimal if any reliance interests in the length of
    each renewal period, especially since a grant of DACA was and remains revocable.

    I recognize that shortening renewal periods on a prospective basis will have the effect, during
    this interim period as I consider how to address the DACA policy, of increasing the total amount
    of renewal fees that an alien will be required to pay over a multi-year period. But the fee per
    application will remain constant, and the fee that DHS charges for the application is associated
    with the processing costs to DHS. DHS personnel should consider whether it is possible to




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    reduce renewal fees during this interim period of reconsideration. In my current view, however,
    even if renewal fees cannot be reduced, shortening the renewal period is still warranted by my
    strong desire to limit the scope of the policy during this interim period despite any additional fees
    incurred by DACA beneficiaries as a result.

    Finally, to further mitigate my concerns, I have determined that these changes should apply both
    to DACA and advance parole requests submitted after the issuance of this memorandum and
    requests that are currently pending before the agency. Since the issuance of the Supreme Court’s
    decision, DHS has, on an interim basis, generally held properly submitted initial requests for
    DACA in anticipation of potential policy changes. Since July 24, DHS has likewise, on an
    interim basis, held all requests for advanced parole from current DACA recipients.1 Consistent
    with the Court’s express remand for the agency’s reconsideration and the Napolitano
    Memorandum’s clear statement that it conferred no substantive rights, DHS did not expand
    beyond the status quo of the past several years for a few weeks while it was determining next
    steps. I now conclude that all pending and future requests should be treated in the same manner,
    rather than be subject to differential treatment depending on the fortuity of when DHS received
    the request within a short period of uncertainty. Nothing in the Napolitano Memo purports to
    preclude me from exercising my enforcement discretion to make these changes on an interim
    basis while I consider whether to make more substantial changes on a permanent basis. Even
    under the Napolitano Memo, no aliens had a legal entitlement to receive DACA—much less a
    legal entitlement to a particular renewal period. Nor can aliens with pending requests assert any
    meaningfully greater reliance interests in their initial or continued enjoyment of the policy and
    the attendant benefits than aliens who submit such requests after the issuance of this
    memorandum.

    Accordingly, effective immediately, DHS shall:

        •   Reject all initial DACA requests and associated applications for Employment
            Authorization Documents, and refund all associated fees, without prejudice to re-filing
            such requests should DHS determine to begin accepting initial requests again in the
            future.

        •   Adjudicate all pending and future properly submitted DACA renewal requests and
            associated applications for Employment Authorization Documents from current
            beneficiaries.

        •   Limit the period of any deferred action granted pursuant to the DACA policy after the
            issuance of this memorandum (and thereby limit the period of any associated work
            authorization) to one year.

        •   Refrain from terminating any grants of previously issued deferred action or revoking any
            Employment Authorization Documents based solely on the directives in this
            memorandum for the remaining duration of their validity periods.


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              Prior to July 24, DHS’s treatment of advance parole requests from DACA recipients varied. Many were
    rejected, while some were accepted and receipted. To the extent any rejected requestor believes exceptional
    circumstances support his or her request, he or she may now renew the request for advance parole, and it will be
    adjudicated on the terms set forth in this memorandum.




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       •   Reject all pending and future Form I-131 applications for advance parole from
           beneficiaries of the DACA policy and refund all associated fees, absent exceptional
           circumstances.

       •   Refrain from terminating any grants of previously approved advance parole based solely
           on the directives in this memorandum for the remaining duration of their validity periods.

       •   Exercise its discretionary authority to terminate or deny deferred action at any time when
           immigration officials determine termination or denial of deferred action is appropriate.

       •   Continue to comply with the information-sharing policy as reflected in the DACA
           Frequently Asked Questions issued alongside the Napolitano Memorandum, and as set
           forth in USCIS’s Form I-821D instructions. Nothing in this memorandum makes any
           change to that policy.

                                               * * * * *

    This document is not intended to, does not, and may not be relied upon to create any right or
    benefit, substantive or procedural, enforceable at law or equity by any party in any
    administrative, civil, or criminal matter. Likewise, no limitations are placed by this guidance on
    the otherwise lawful enforcement or litigation prerogatives of DHS. Finally, if any aspect of the
    changes to the DACA policy in this memorandum is found to be unlawful, the remainder of the
    changes should nonetheless continue in effect.




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                                                                             Secretary

                                                                             U.S. Department of Homeland Security
                                                                             Washington, DC 20528


                                                                             Homeland
                                                                             Security
                                          June 15, 2012


    MEMORANDUM FOR:               David V. Aguilar
                                  Acting Commissioner, U.S. Customs and Border Protection

                                  Alejandro Mayorkas
                                  Director, U.S. Citizenship and Immigration Services

                                  John Morton
                                  Director, U.S. Immigration and Customs Enforcement

    FROM:                         Janet Napolitano {/ J--         /J ~
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                                  Secretary of HomeJJ/ntr8'ecurfty /

    SUBJECT:                      Exercising Proset¢orial Discretion with Respect to Individuals
                                  Who Came to thei.Jnited States as Children

    By this memorandum, I am setting forth how, in the exercise of our prosecutorial discretion, the
    Department of Homeland Security (DHS) should enforce the Nation's immigration laws against
    certain young people who were brought to this country as children and know only this country as
    home. As a general matter, these individuals lacked the intent to violate the law and our ongoing
    review of pending removal cases is already offering administrative closure to many of them.
    However, additional measures are necessary to ensure that our enforcement resources are not
    expended on these low priority cases but are instead appropriately focused on people who meet
    our enforcement priorities.

    The following criteria should be satisfied before an individual is considered for an exercise of
    prosecutorial discretion pursuant to this memorandum:

       •    came to the United States under the age of sixteen;
       •    has continuously resided in the United States for a least five years preceding the date of
            this memorandum and is present in the United States on the date of this memorandum;
       •    is currently in school, has graduated from high school, has obtained a general education
            development certificate, or is an honorably discharged veteran of the Coast Guard or
            Armed Forces ofthe United States;
       •    has not been convicted of a felony offense, a significant misdemeanor offense, multiple
            misdemeanor offenses, or otherwise poses a threat to national security or public safety;
            and
       •    is not above the age of thirty.




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  Our Nation' s immigration laws must be enforced in a strong and sensible manner. They are not
  designed to be blindly enforced without consideration given to the individual circumstances of
  each case. Nor are they designed to remove productive young people to countries where they
  may not have lived or even speak the language. Indeed, many of these young people have
  already contributed to our country in significant ways. Prosecutorial discretion, which is used in
  so many other areas, is especially justified here.

  As part of this exercise of prosecutorial discretion, the above criteria are to be considered
  whether or not an individual is already in removal proceedings or subject to a final order of
  removal. No individual should receive deferred action under this memorandum unless they first
  pass a background check and requests for relief pursuant to this memorandum are to be decided
  on a case by case basis. DHS cannot provide any assurance that relief will be granted in all
  cases.

  1. With respect to individuals who are encountered by U.S. Immigration and Customs
  Enforcement (ICE), U.S. Customs and Border Protection (CBP), or U.S. Citizenship and
  Immigration Services (USCIS):

      •   With respect to individuals who meet the above criteria, ICE and CBP should
          immediately exercise their discretion, on an individual basis, in order to prevent low
          priority individuals from being placed into removal proceedings or removed from the
          United States.
      •   USCIS is instructed to implement this memorandum consistent with its existing guidance
          regarding the issuance of notices to appear.

  2. With respect to individuals who are in removal proceedings but not yet subject to a final order
  of removal, and who meet the above criteria:

      •   ICE should exercise prosecutorial discretion, on an individual basis, for individuals who
          meet the above criteria by deferring action for a period of two years, subject to renewal,
          in order to prevent low priority individuals from being removed from the United States.
      •   ICE is instructed to use its Office of the Public Advocate to permit individuals who
          believe they meet the above criteria to identify themselves through a clear and efficient
          process.
      •   ICE is directed to begin implementing this process within 60 days of the date of this
          memorandum.
      •   ICE is also instructed to immediately begin the process of deferring action against
          individuals who meet the above criteria whose cases have already been identified through
          the ongoing review of pending cases before the Executive Office for Immigration
          Review.

  3. With respect to the individuals who are not currently in removal proceedings and meet the
  above criteria, and pass a background check:

      •   USCIS should establish a clear and efficient process for exercising prosecutorial
          discretion, on an individual basis, by deferring action against individuals who meet the


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         above criteria and are at least 15 years old, for a period of two years, subject to renewal,
         in order to prevent low priority individuals from being placed into removal proceedings
         or removed from the United States.
     •   The USCIS process shall also be available to individuals subject to a final order of
         removal regardless of their age.
     •   US CIS is directed to begin implementing this process within 60 days of the date of this
         memorandum.

  For individuals who are granted deferred action by either ICE or USCIS, USCIS shall accept
  applications to determine whether these individuals qualify for work authorization during this
  period of deferred action.

  This memorandum confers no substantive right, immigration status or pathway to citizenship.
  Only the Congress, acting through its legislative authority, can confer these rights. It remains for
  the executive branch, however, to set forth policy for the exercise of discretion within the
  framework of the existing law. I have done so here.



                                           ~jJz~




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         Official website of the Department of Homeland Security

                    U.S. Department of
                    Homeland Security




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      In an effort to keep DHS.gov current, the archive contains outdated information
      that may not reflect current policy or programs.



    Statement from Acting
    Secretary Duke on the
    Rescission Of Deferred Action
    For Childhood Arrivals (DACA)
    Release Date: September 5, 2017

    For Immediate Release
    Office of the Press Secretary
    Contact: 202-282-8010

    WASHINGTON - This Administration’s decision to terminate DACA was not taken
    lightly. The Department of Justice has carefully evaluated the program’s
    Constitutionality and determined it conflicts with our existing immigration laws.
    Given the Supreme Court’s decision on DAPA, they do not believe DACA is legally
    viable, and thus the program should be ended.

    As a result of recent litigation, we were faced with two options: wind the program
    down in an orderly fashion that protects beneficiaries in the near-term while working
    with Congress to pass legislation; or allow the judiciary to potentially shut the



                                                                                          AR0017
https://www.dhs.gov/news/2017/09/05/statement-acting-secretary-duke-rescission-deferre… 8/11/2020
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    program down completely and immediately. The Administration chose the least
    disruptive option.

    I am very aware of the consequences of this action, and I sympathize with the DACA
    recipients whose futures may now be less certain. But I am also frustrated on their
    behalf. DACA was never more than deferred action—a bureaucratic delay—that
    never promised the rights of citizenship or legal status in this country. The program
    did not grant recipients a future, it was instead only a temporary delay until a day of
    likely expiration. And for that reason, DACA was fundamentally a lie.

    I believe President Obama had genuine intentions for DACA, and was clearly
    frustrated by his inability to maneuver through the legislative process. But a
    Secretarial memo – even if intended to be temporary - is not a substitute for a law
    passed by Congress and signed by the President.

    For several years before becoming the Acting Secretary, I taught civics to people who
    were going through the naturalization process. I taught them the principles of
    American democracy, like the three branches of government, the separation of
    powers, and how our system of checks and balances works.

    I taught them that the Constitution was the supreme law of the land.

    And I taught them the rule of law: How everyone in our country must follow the law,
    no matter who they are.

    The DACA program violates those basic civics lessons that are fundamental to our
    country and our citizens.

    It is a dangerous precedent to systematically ignore the law, regardless of one’s
    intent or purpose. It is also dangerous to encourage and reward illegal immigration.

    We must find a better way. And we must do so within the Constitution of the United
    States.

    If our current laws do not reflect our country’s values, then I urge Congress to use its
    Constitutional authority to write and pass legislation that does. I believe the
    President shares my confidence in the Congress.




                                                                                               AR0018
https://www.dhs.gov/news/2017/09/05/statement-acting-secretary-duke-rescission-deferre… 8/11/2020
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    DHS would be glad to provide Congress with data and information to help them
    consider the situation, and find a legislative solution. There is much wrong with our
    current immigration system—not just DACA—and this is an opportunity to make it
    better, fairer, and more beneficial for the nation.

    What this decision makes clear is that we are overdue for real answers. No more
    stopgap measures, no more temporary options, and no more kicking the tough
    decisions down the road in the hope they become too painful to ignore for someone
    else.

    We need to do this the right way. And we need to do this now.

    Topics: Border Security (/topics/border-security)
    Keywords: Acting Secretary Elaine Duke (/keywords/acting-secretary-elaine-duke) , Deferred Action for
    Childhood Arrivals (DACA) (/keywords/daca)

    Last Published Date: September 5, 2017




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                                                                           AR0021
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                                                                           AR0022
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                            Approximate Active DACA Recipients:
                                   As of March 31, 2020
     Month/Year Current DACA                  Number                  Number with Renewal
               Expires                       (Rounded)                 Pending (Rounded)
    Apr-20                                                  8,770                           4,730
    May-20                                                 15,070                           7,410
    Jun-20                                                 18,700                           7,380
    Jul-20                                                 20,370                           5,110
    Aug-20                                                 27,380                           3,370
    Sep-20                                                 34,040                           3,810
    Oct-20                                                 29,620                           2,520
    Nov-20                                                 33,360                           1,780
    Dec-20                                                 23,690                             840
    Jan-21                                                 33,640                             460
    Feb-21                                                 30,410                             290
    Mar-21                                                 33,990                             250
    Apr-21                                                 38,490                             210
    May-21                                                 31,060                             150
    Jun-21                                                 27,270                             110
    Jul-21                                                 36,700                             120
    Aug-21                                                 29,870                              90
    Sep-21                                                 36,210                             130
    Oct-21                                                 30,720                             130
    Nov-21                                                 17,710                              50
    Dec-21                                                 22,390                              60
    Jan-22                                                 23,120                              70
    Feb-22                                                 22,840                              40
    Mar-22                                                 18,170                              30
    Grand Total                                          643,560                          39,130
    Note:
    This report reflects the most up-to-date data available at the time the report is generated.
    Number of Individuals with DACA Expiration on or after Mar. 31, 2020 as of Mar. 31, 2020.
    Individuals who have obtained Lawful Permanent Resident Status or U.S. Citizenship are
    excluded.
    Totals may not sum due to rounding.
    Counts less than 10 are notated with the letter "D."




                                                                                                    AR0023
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                 Approximate DACA Renewals Pending with Expired DACA
                                 As of March 31, 2020
    Number (Rounded)                                                                        8,210
    NOTE:
    This report reflects the most up-to-date data available at the time the report is generated.
    Number of Individuals with a DACA renewal pending whose current DACA has expired as of
    Mar. 31, 2020.
    Individuals who have obtained Lawful Permanent Resident Status or U.S. Citizenship are
    excluded.
    USCIS previously discovered that the query code used to generate this report had some
    flaws, such that the data was under inclusive because it only pulled cases from Electronic
    Immigration System (ELIS) and not also from Computer Linked Application Information
    Management System (CLAIMS 3). CLAIMS 3 and ELIS are electronic case management
    systems that USCIS uses to process certain immigration requests. From the inception of
    DACA until early 2016, DACA requests were ingested into and processed in CLAIMS 3. In
    early 2016, USCIS transitioned to ELIS for DACA requests, and newly received DACA
    requests were ingested into and then processed in ELIS. USCIS believes that it has
    corrected this issue in the query code and that this report provides a more accurate
    reflection of pending renewal DACA requests for individuals with expired DACA. Note that if
    this report is compared to versions prior to the March 31, 2018 version that USCIS has
    published on its website, the prior versions reflect under inclusive data.

                              Approximate DACA Initials Pending
                                    As of March 31, 2020
    Number (Rounded)                                                                        3,110
    NOTE:
    This report reflects the most up-to-date data available at the time the report is generated.
    Number of Individuals with a DACA initials pending as of March 31, 2020.
    USCIS previously discovered that the query code used to generate this report had some
    flaws, such that the data was under inclusive because it only pulled cases from Electronic
    Immigration System (ELIS) and not also from Computer Linked Application Information
    Management System (CLAIMS 3). CLAIMS 3 and ELIS are electronic case management
    systems that USCIS uses to process certain immigration requests. From the inception of
    DACA until early 2016, DACA requests were ingested into and processed in CLAIMS 3. In
    early 2016, USCIS transitioned to ELIS for DACA requests, and newly received DACA
    requests were ingested into and then processed in ELIS. USCIS believes that it has
    corrected this issue in the query code and that this report provides a more accurate
    reflection of pending initial DACA requests. Note that if this report is compared to versions
    prior to the March 31, 2018 version that USCIS has published on its website, the prior
    versions reflect under inclusive data.




                                                                                                    AR0024
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           Approximate Count of DACA Receipts:
        Since January 10, 2018, As of March 31, 2020                           Adjudicative Status
                                                                                                        Grand
     I-821D Receipts grouped by date previous DACA expires              Approved Denied Pending         Total
Current DACA expires prior to Sept. 5, 2016                                   4,510        920    570      6,010
Current DACA expires between Sept. 5, 2016 and Sept. 4, 2017                  9,190        420    370      9,980
Current DACA expires between Sept. 5, 2017 and Mar. 5, 2018                   9,290        390    280      9,960
Current DACA expires after Mar. 5, 2018                                     689,600      4,990 47,160    741,750
No match                                                                         20          D      0         30
Grand Total                                                                712,610      6,730  48,390   767,730
NOTE:
This report reflects the most up-to-date data available at the time the report is generated.
Count of I-821D receipts with a receipt date on or after Jan. 10, 2018 as of March 31, 2020.
Previous DACA expiration found based on matching A Number.
Receipts grouped by date of previous DACA expiration.
No match means there is no record of a previous DACA approval by matching A Number.
Totals may not sum due to rounding.
Counts less than 10 are notated with the letter "D."




                                                                                                                   AR0025
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                            Approximate Active DACA Recipients:
                                     Country of Birth
                                   As of March 31, 2020
                                                                   Number
                       Country of Birth
                                                                  (rounded)
      Grand Total                                                             643,560
      Mexico                                                                  517,460
      El Salvador                                                              24,830
      Guatemala                                                                16,840
      Honduras                                                                 15,450
      Peru                                                                      6,250
      Korea, South                                                              6,210
      Brazil                                                                    5,060
      Ecuador                                                                   4,780
      Colombia                                                                  4,240
      Argentina                                                                 3,360
      Philippines                                                               3,270
      Jamaica                                                                   2,250
      India                                                                     2,220
      Venezuela                                                                 2,100
      Dominican Republic                                                        1,990
      Uruguay                                                                   1,700
      Trinidad And Tobago                                                       1,500
      Bolivia                                                                   1,430
      Costa Rica                                                                1,340
      Nicaragua                                                                 1,270
      Chile                                                                     1,190
      Poland                                                                    1,150
      Pakistan                                                                  1,150
      Nigeria                                                                     910
      Guyana                                                                      850
      Belize                                                                      700
      Indonesia                                                                   650
      Canada                                                                      640
      China                                                                       600
      Kenya                                                                       600
      Bangladesh                                                                  440
      United Kingdom                                                              440
      Portugal                                                                    430
      Mongolia                                                                    420
      Ghana                                                                       410
      Panama                                                                      380
      Italy                                                                       320
      Israel                                                                      290
      Bahamas, The                                                                260
      Albania                                                                     230
      Saint Lucia                                                                 210
      Taiwan                                                                      210
      Turkey                                                                      190
      Jordan                                                                      190



                                                                                        AR0026
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      Paraguay                                                    190
      Germany                                                     180
      Zambia                                                      170
      Thailand                                                    170
      Saudi Arabia                                                160
      South Africa                                                160
      Egypt                                                       150
      United Arab Emirates                                        150
      Armenia                                                     150
      France                                                      140
      Hong Kong                                                   140
      Ukraine                                                     140
      Malaysia                                                    130
      Haiti                                                       130
      Lithuania                                                   130
      Russia                                                      130
      Senegal                                                     120
      Guinea                                                      120
      Sri Lanka                                                   120
      Cameroon                                                    120
      Japan                                                       110
      Zimbabwe                                                    110
      Grenada                                                     110
      Liberia                                                     110
      Côte D'Ivoire                                               110
      Morocco                                                     100
      Saint Vincent And The Grenadines                            100
      Greece                                                      100
      Gambia, The                                                 100
      Lebanon                                                      90
      Romania                                                      90
      Suriname                                                     90
      Sierra Leone                                                 90
      Spain                                                        90
      Barbados                                                     80
      Fiji                                                         80
      Czech Republic                                               80
      Dominica                                                     80
      Hungary                                                      70
      Malawi                                                       70
      Macedonia                                                    70
      Antigua And Barbuda                                          70
      Tanzania                                                     70
      New Zealand                                                  60
      Uganda                                                       60
      Nepal                                                        60
      Kuwait                                                       60
      Bulgaria                                                     50
      Iran                                                         50
      Tonga                                                        50
      Vietnam                                                      50


                                                                         AR0027
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      Cabo Verde                                                   50
      Montenegro                                                   50
      Netherlands                                                  50
      Australia                                                    50
      Angola                                                       40
      Democratic Republic Of Congo                                 40
      Cambodia                                                     40
      Mali                                                         40
      Singapore                                                    40
      Qatar                                                        30
      Slovakia                                                     30
      Ethiopia                                                     30
      Uzbekistan                                                   30
      Virgin Islands, British                                      30
      Turks And Caicos Islands                                     30
      Saint Kitts And Nevis                                        30
      Serbia                                                       30
      Sweden                                                       30
      Togo                                                         30
      Yemen                                                        30
      Belgium                                                      30
      Estonia                                                      30
      Samoa                                                        30
      Bahrain                                                      20
      Gabon                                                        20
      Austria                                                      20
      Yugoslavia                                                   20
      Congo                                                        20
      Netherlands Antilles                                         20
      Botswana                                                     20
      Syria                                                        20
      Ireland                                                      20
      Western Samoa                                                20
      Cayman Islands                                               20
      Bermuda                                                      20
      Kosovo                                                       10
      Laos                                                         10
      Switzerland                                                  10
      Algeria                                                      10
      Burundi                                                      10
      Georgia                                                      10
      Belarus                                                      10
      Benin                                                        10
      Croatia                                                      10
      Denmark                                                      10
      Kazakhstan                                                   10
      Niger                                                        10
      Oman                                                         10
      Ussr                                                         10
      Azerbaijan                                                   10
      Burkina Faso                                                 10


                                                                         AR0028
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      Libya                                                        10
      Afghanistan                                                   D
      Montserrat                                                    D
      Iraq                                                          D
      Latvia                                                        D
      Madagascar                                                    D
      Namibia                                                       D
      Slovenia                                                      D
      Somalia                                                       D
      Cyprus                                                        D
      Kyrgyzstan                                                    D
      Moldova                                                       D
      Lesotho                                                       D
      Norway                                                        D
      Zaire                                                         D
      Aruba                                                         D
      Central African Republic                                      D
      French Guiana                                                 D
      Macau                                                         D
      Mauritius                                                     D
      Rwanda                                                        D
      Bosnia And Herzegovina                                        D
      Brunei                                                        D
      Chad                                                          D
      Luxembourg                                                    D
      Marshall Islands                                              D
      Mauritania                                                    D
      Bhutan                                                        D
      Guadeloupe                                                    D
      Guinea-Bissau                                                 D
      Martinique                                                    D
      Mozambique                                                    D
      Sudan                                                         D
      Tunisia                                                       D
      Tuvalu                                                        D
      Equatorial Guinea                                             D
      Micronesia, Federated States Of                               D
      Palau                                                         D
      Swaziland                                                     D
      Turkmenistan                                                  D
      Andorra                                                       D
      Anguilla                                                      D
      Burma                                                         D
      Cuba                                                          D
      Eritrea                                                       D
      Finland                                                       D
      French Polynesia                                              D
      Germany, West                                                 D
      Iceland                                                       D
      Malta                                                         D
      New Caledonia                                                 D


                                                                         AR0029
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      Palestine                                                                                 D
      Papua New Guinea                                                                          D
      Tajikistan                                                                                D
      Not available                                                                           330
      1) The report reflects the most up-to-date data available at the time the report is
      generated.
      2) The Active DACA population are individuals who have an approved I-821D with validity
      as of Mar. 31, 2020.
      3) Individuals who have obtained Lawful Permanent Resident Status or U.S. Citizenship are
      excluded.
      4) Totals may not sum due to rounding.
      5) Countries with fewer than 10 active DACA recipients are notated with the letter "D."
      6) Not available means the data is not available in the electronic systems.




                                                                                                    AR0030
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                             Approximate Active DACA Recipients:
                               State or Territory of Residence
                                    As of March 31, 2020
                                                                    Number
                 State or Territory of Residence
                                                                   (rounded)
      Grand Total                                                              643,560
      California                                                               183,460
      Texas                                                                    106,090
      Illinois                                                                  33,940
      New York                                                                  28,180
      Florida                                                                   24,810
      North Carolina                                                            24,050
      Arizona                                                                   23,990
      Georgia                                                                   20,610
      New Jersey                                                                16,350
      Washington                                                                16,030
      Colorado                                                                  14,520
      Nevada                                                                    12,100
      Oregon                                                                     9,710
      Virginia                                                                   9,410
      Indiana                                                                    8,870
      Utah                                                                       8,490
      Maryland                                                                   7,870
      Tennessee                                                                  7,650
      Wisconsin                                                                  6,540
      Oklahoma                                                                   6,110
      South Carolina                                                             5,750
      New Mexico                                                                 5,690
      Kansas                                                                     5,550
      Massachusetts                                                              5,480
      Michigan                                                                   5,250
      Minnesota                                                                  5,180
      Arkansas                                                                   4,480
      Pennsylvania                                                               4,480
      Alabama                                                                    3,970
      Ohio                                                                       3,860
      Connecticut                                                                3,560
      Missouri                                                                   3,010
      Nebraska                                                                   2,910
      Idaho                                                                      2,760
      Kentucky                                                                   2,710
      Iowa                                                                       2,420
      Louisiana                                                                  1,730
      Mississippi                                                                1,310
      Delaware                                                                   1,310
      Rhode Island                                                                 890
      District Of Columbia                                                         600
      Wyoming                                                                      510
      Hawaii                                                                       340
      New Hampshire                                                                270



                                                                                         AR0031
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      South Dakota                                                                              190
      North Dakota                                                                              120
      West Virginia                                                                             110
      Puerto Rico                                                                                 80
      Montana                                                                                     70
      Alaska                                                                                      70
      Maine                                                                                       50
      Virgin Islands                                                                              30
      Vermont                                                                                     20
      Guam                                                                                        10
      Armed Forces Americas (except Canada)                                                       10
      Northern Mariana Islands                                                                     D
      Federated States Of Micronesia                                                               D
      Armed Forces Pacific                                                                         D
      Marshall Islands                                                                             D
      American Samoa                                                                               D
      Not available                                                                                D
      1) The report reflects the most up-to-date data available at the time the report is
      generated.
      2) The Active DACA population are individuals who have an approved I-821D with validity
      as of Mar. 31, 2020.
      3) Individuals who have obtained Lawful Permanent Resident Status or U.S. Citizenship are
      excluded.
      4) Totals may not sum due to rounding.
      5) States/Territories with fewer than 10 active DACA recipients are notated with the letter
      "D."




                                                                                                       AR0032
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                            Approximate Active DACA Recipients:
                                Core Based Statistical Area
                                   As of March 31, 2020
                                                                   Number
                  Core Based Statistical Area
                                                                  (rounded)
      Grand Total                                                             643,560
      Los Angeles-Long Beach-Anaheim, CA                                       79,890
      New York-Newark-Jersey City, NY-NJ-PA                                    41,310
      Dallas-Fort Worth-Arlington, TX                                          34,770
      Houston-The Woodlands-Sugar Land, TX                                     32,450
      Chicago-Naperville-Elgin, IL-IN-WI                                       32,350
      Riverside-San Bernardino-Ontario, CA                                     22,740
      Phoenix-Mesa-Scottsdale, AZ                                              20,830
      Atlanta-Sandy Springs-Roswell, GA                                        14,570
      San Francisco-Oakland-Hayward, CA                                        13,490
      Washington-Arlington-Alexandria, DC-VA-MD-WV                             12,060
      San Diego-Carlsbad, CA                                                   10,440
      Las Vegas-Henderson-Paradise, NV                                          9,700
      Miami-Fort Lauderdale-West Palm Beach, FL                                 9,620
      Denver-Aurora-Lakewood, CO                                                9,180
      San Jose-Sunnyvale-Santa Clara, CA                                        8,450
      Austin-Round Rock, TX                                                     7,260
      Seattle-Tacoma-Bellevue, WA                                               7,170
      McAllen-Edinburg-Mission, TX                                              7,000
      Sacramento--Roseville--Arden-Arcade, CA                                   5,700
      Portland-Vancouver-Hillsboro, OR-WA                                       5,680
      Charlotte-Concord-Gastonia, NC-SC                                         5,660
      San Antonio-New Braunfels, TX                                             5,030
      Bakersfield, CA                                                           4,920
      Fresno, CA                                                                4,860
      Salt Lake City, UT                                                        4,490
      Philadelphia-Camden-Wilmington, PA-NJ-DE-MD                               4,240
      Boston-Cambridge-Newton, MA-NH                                            4,170
      Minneapolis-St. Paul-Bloomington, MN-WI                                   4,090
      Indianapolis-Carmel-Anderson, IN                                          3,840
      Oxnard-Thousand Oaks-Ventura, CA                                          3,820
      Raleigh, NC                                                               3,670
      Visalia-Porterville, CA                                                   3,450
      Kansas City, MO-KS                                                        3,440
      Stockton-Lodi, CA                                                         3,350
      Nashville-Davidson--Murfreesboro--Franklin, TN                            3,200
      Tampa-St. Petersburg-Clearwater, FL                                       3,110
      Modesto, CA                                                               2,920
      Santa Maria-Santa Barbara, CA                                             2,900
      Salinas, CA                                                               2,900
      Oklahoma City, OK                                                         2,800
      Albuquerque, NM                                                           2,700
      Milwaukee-Waukesha-West Allis, WI                                         2,650
      Orlando-Kissimmee-Sanford, FL                                             2,630




                                                                                        AR0033
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      Santa Rosa, CA                                             2,440
      Detroit-Warren-Dearborn, MI                                2,290
      Baltimore-Columbia-Towson, MD                              2,180
      Winston-Salem, NC                                          2,180
      Brownsville-Harlingen, TX                                  2,080
      Salem, OR                                                  2,040
      Greensboro-High Point, NC                                  1,960
      Yakima, WA                                                 1,950
      Tucson, AZ                                                 1,890
      Merced, CA                                                 1,840
      Tulsa, OK                                                  1,830
      Kennewick-Richland, WA                                     1,820
      Bridgeport-Stamford-Norwalk, CT                            1,820
      Columbus, OH                                               1,810
      Memphis, TN-MS-AR                                          1,790
      Durham-Chapel Hill, NC                                     1,760
      Fayetteville-Springdale-Rogers, AR-MO                      1,700
      Provo-Orem, UT                                             1,680
      Reno, NV                                                   1,680
      El Paso, TX                                                1,550
      North Port-Sarasota-Bradenton, FL                          1,480
      Vallejo-Fairfield, CA                                      1,480
      Omaha-Council Bluffs, NE-IA                                1,440
      Cape Coral-Fort Myers, FL                                  1,420
      Grand Rapids-Wyoming, MI                                   1,390
      Birmingham-Hoover, AL                                      1,370
      Greenville-Anderson-Mauldin, SC                            1,350
      Gainesville, GA                                            1,310
      Santa Cruz-Watsonville, CA                                 1,300
      Ogden-Clearfield, UT                                       1,260
      Providence-Warwick, RI-MA                                  1,230
      Wichita, KS                                                1,220
      Laredo, TX                                                 1,220
      Lakeland-Winter Haven, FL                                  1,190
      Boise City, ID                                             1,180
      Elkhart-Goshen, IN                                         1,160
      Richmond, VA                                               1,090
      Naples-Immokalee-Marco Island, FL                          1,030
      Louisville/Jefferson County, KY-IN                         1,010
      Des Moines-West Des Moines, IA                             1,010
      Cincinnati, OH-KY-IN                                       1,000
      Other CBSA                                                94,090
      Not available                                              1,330
      Non CBSA                                                  14,270




                                                                         AR0034
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      1) The report reflects the most up-to-date data available at the time the report is
      generated.
      2) The Active DACA population are individuals who have an approved I-821D with validity
      as of Mar. 31, 2020.
      3) Individuals who have obtained Lawful Permanent Resident Status or U.S. Citizenship are
      excluded.
      4) Core Based Statistical Areas (CBSA) at the time of most recent application. CBSAs are
      defined by the Office of Management and Budget.
      5) CBSA with less than 1,000 individuals are included in Other CBSA.
      6) Not available means the data is not available in the electronic systems.
      7) Totals may not sum due to rounding.




                                                                                                  AR0035
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                              Approximate Active DACA Recipients:
                                            Gender
                                     As of March 31, 2020
                                 Sex                                    Number (rounded)
      Grand Total                                                                         643,560
      Female                                                                              342,680
      Male                                                                                300,820
      Not available                                                                            60
      1) The report reflects the most up-to-date data available at the time the report is
      generated.
      2) The Active DACA population are individuals who have an approved I-821D with validity
      as of Mar. 31, 2020.
      3) Individuals who have obtained Lawful Permanent Resident Status or U.S. Citizenship are
      excluded.
      4) Totals may not sum due to rounding.
      5) Not available means the data is not available in the electronic systems.

                              Approximate Active DACA Recipients:
                                          Age Group
                                     As of March 31, 2020
                      Age as of March 31, 2020                          Number (rounded)
      Grand Total                                                                         643,560
      Under 16                                                                                  70
      16-20                                                                                74,570
      21-25                                                                               240,890
      26-30                                                                               191,840
      31-35                                                                               108,390
      36-38                                                                                27,800
      Not available                                                                              D
      Average Age                                                                             26.2
      Median Age                                                                                26
      Interquartile Range                                                                 22 to 30
      1) The report reflects the most up-to-date data available at the time the report is
      generated.
      2) The Active DACA population are individuals who have an approved I-821D with validity at
      as of Mar. 31, 2020.
      3) Individuals who have obtained Lawful Permanent Resident Status or U.S. Citizenship are
      excluded.
      4) Totals may not sum due to rounding.
      5) Not available means the data is not available in the electronic systems.
      6) Counts less than 10 active DACA recipients are notated with the letter "D."




                                                                                                     AR0036
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                              Approximate Active DACA Recipients:
                                        Marital Status
                                     As of March 31, 2020
                           Marital Status                               Number (rounded)
      Grand Total                                                                         643,560
      Single                                                                              482,100
      Married                                                                             148,190
      Divorced                                                                             10,640
      Widowed                                                                                 360
      Not available                                                                         2,270
      1) The report reflects the most up-to-date data available at the time the report is
      generated.
      2) The Active DACA population are individuals who have an approved I-821D with validity
      as of Mar. 31, 2020.
      3) Individuals who have obtained Lawful Permanent Resident Status or U.S. Citizenship are
      excluded.
      4) Totals may not sum due to rounding.
      5) Not available means the data is not available in the electronic systems.




                                                                                                    AR0037
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                                                                Number of Form I-821D,Consideration of Deferred Action for Childhood
                                                                            Arrivals, Status, by Fiscal Year, Quarter, and Case Status:
                                                                                                            Aug. 15, 2012-Dec. 31, 2019


                                                                          Requests by Intake and Case Status
                                                                        Intake1                                       Case Review6
                                               Requests      Requests       Total Requests      Average
                                                                                                              Approved7
                                                                                                                                8          9
                                                                                                                          Denied     Pending
                       Period                  Accepted
                                                       2            3
                                                             Rejected         Received
                                                                                      4
                                                                                              Accepted/Day5

Fiscal Year - Total
   2012                                            152,430        5,396             157,826           3,629       1,684          -   150,746
   2013                                            427,612       16,355             443,967           1,696     470,603     11,023    96,719
   2014                                            238,897       24,890             263,787             951     158,417     21,103   156,034
    2014 Initial                                   122,473       19,065             141,538             487     136,182     21,100    61,850
    2014 Renewal                                   116,424        5,825             122,249             463      22,235          D    94,184
   2015                                            448,843       35,504             484,347           1,781     510,342     21,551    72,886
    2015 Initial                                    85,301        7,170              92,471             338      90,832     19,185    37,062
    2015 Renewal                                   363,542       28,334             391,876           1,442     419,510      2,366    35,824
   2016                                            260,701       12,317             273,018           1,034     198,558     14,486   119,667
    2016 Initial                                    73,347        1,151              74,498             291      52,738     11,435    45,387
    2016 Renewal                                   187,354       11,166             198,520             743     145,820      3,051    74,280
   2017                                            472,850       43,455             516,305           1,883     461,911     13,196   117,321
    2017 Initial                                    45,593           44              45,637             181      47,133      9,165    34,628
    2017 Renewal                                   427,257       43,411             470,668           1,702     414,778      4,031    82,693
   2018                                            260,120       29,651             289,771           1,036     319,493     12,540    45,373
    2018 Initial                                     2,060            D               2,062               D      24,423      8,250     4,003
    2018 Renewal                                   258,060       29,649             287,709           1,028     295,070      4,290    41,370
   2019                                            386,159       22,003             408,162           1,532     387,723      4,952    38,826
    2019 Initial                                     1,567            D               1,571               D       1,783      1,605     2,176
    2019 Renewal                                   384,592       21,999             406,591           1,526     385,940      3,347    36,650
   2020                                             72,377        4,170              76,547           1,167      74,124      1,040    36,031
    2020 Initial                                       911            D                 913              14         245        160     2,680
    2020 Renewal                                    71,466        4,168              75,634           1,152      73,879        880    33,351
   Total Cumulative                              2,719,989      193,741           2,913,730           1,458   2,582,855     99,891    36,031
    Total Cumulative Initial                       911,294       49,189             960,483             488     825,623     81,923     2,680
    Total Cumulative Renewal                     1,808,695      144,552           1,953,247             969   1,757,232     17,968    33,351



                                                                                                                                       AR0038
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                                                                         Requests by Intake and Case Status
                                                                       Intake1                                      Case Review6
                                             Requests      Requests        Total Requests      Average              7         8           9
                                                                                                             Approved    Denied     Pending
                      Period                 Accepted2     Rejected3         Received4       Accepted/Day5
Fiscal Year 2020 by Quarter
   Q1. October - December                         72,377         4,170              76,547           1,167      74,124      1,040     36,031
    Q1. October - December Initial                   911             D                 913              14         245        160      2,680
    Q1. October - December Renewal                71,466         4,168              75,634           1,152      73,879        880     33,351




                                                                                                                                      AR0039
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Table Key
D Data withheld to protect petitioners' privacy.
- Represents zero.
Footnotes
1
 Refers to a request for USCIS to consider deferred removal action for an individual based on guidelines described in the Secretary of Homeland Security's
memorandum issued June 15, 2012.
   Each request is considered on a case-by-case basis.
   See http://www.uscis.gov/childhoodarrivals.
2
 The number of new requests accepted at a Lockbox during the reporting period.
3
 The number of requests rejected at a Lockbox during the reporting period.
4
 The number of requests that were received at a Lockbox during the reporting period.
5
 The number of requests accepted per day at a Lockbox as of the end of the reporting period. Also note the average accepted per day for initial plus renewal will not
equal the total average.
6
 The number of new requests received and entered into a case-tracking system during the reporting period.
7
 The number of requests approved during the reporting period.
8
 The number of requests that were denied, terminated, or withdrawn during the reporting period.
9
 The number of requests awaiting a decision as of the end of the reporting period.
NOTE: 1) Some requests approved or denied may have been received in previous reporting periods.
        2) The report reflects the most up-to-date estimate available at the time the report is generated.
        3) USCIS previously discovered that the query code used to generate this report had some flaws affecting the data in the “Pending” fields, such that the data in
this field was over inclusive because it included cases that were not pending (e.g., cases that had been administratively closed or withdrawn). USCIS believes that it
has corrected this issue in the query code and that this report provides a more accurate reflection of pending cases. Note that if this report is compared to versions
prior to the March 31, 2018 version that USCIS has published on its website, the prior versions reflect over inclusive data in the “Pending” fields.

      4) The Quarterly Report totals may not match the totals provided within the Demographics Reports due to differences in how the data is generated.

        5) USCIS previously discovered that the query code used to generate this report had some flaws affecting the data in the “Approved” and "Denied" fields, such
that the data in this field was under reported because it did not include certain history action codes that are counted as approvals or denials. USCIS believes that it
has corrected this issue in the query code and that this report provides a more accurate reflection of approved and denied cases. Note that if this report is compared
to versions prior to the March 31, 2019 version that USCIS has published on its website, the prior versions reflect under reported data in the “Approved” and "Denied"
fields. The increase in the "Approved" and "Denied" counts has decreased the "Pending" counts.
Source: Department of Homeland Security, U.S. Citizenship and Immigration Services, Performance Report Tool, accessed January 2020.




                                                                                                                                                                  AR0040
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                                                          Accepted to Date1                        Approved to Date2
            Top Countries of Origin         Initials         Renewals         Total         Initials      Renewals     Total

Country
  Mexico                                        709,301        1,430,647        2,139,948       649,987    1,390,316   2,040,303
  El Salvador                                    34,569           69,081          103,650        29,762       67,001      96,763
  Guatemala                                      24,941           45,914           70,855        20,963       44,400      65,363
  Honduras                                       22,741           43,226           65,967        19,164       41,773      60,937
  Korea, South                                    9,582           20,925           30,507         9,008       20,225      29,233
  Peru                                            9,848           20,400           30,248         9,297       19,843      29,140
  Brazil                                          8,668           15,609           24,277         7,647       15,227      22,874
  Ecuador                                         7,811           14,831           22,642         6,893       14,389      21,282
  Colombia                                        7,310           14,047           21,357         6,751       13,691      20,442
  Philippines                                     5,133           10,550           15,683         4,799       10,340      15,139
  Argentina                                       5,270           10,173           15,443         4,950        9,943      14,893
  India                                           3,788            7,487           11,275         3,262        7,250      10,512
  Jamaica                                         4,462            6,892           11,354         3,551        6,732      10,283
  Venezuela                                       3,499            6,656           10,155         3,199        6,493       9,692
  Dominican Republic                              3,851            5,977            9,828         3,280        5,824       9,104
  Trinidad And Tobago                             3,099            5,067            8,166         2,642        4,972       7,614
  Uruguay                                         2,654            4,907            7,561         2,488        4,785       7,273
  Bolivia                                         2,243            4,632            6,875         2,121        4,512       6,633
  Costa Rica                                      2,296            4,348            6,644         2,108        4,260       6,368
  Chile                                           1,916            3,797            5,713         1,799        3,706       5,505
  Poland                                          2,010            3,677            5,687         1,871        3,590       5,461
  Pakistan                                        1,956            3,707            5,663         1,736        3,614       5,350
  Nicaragua                                       1,915            3,532            5,447         1,671        3,420       5,091
  Nigeria                                         1,585            2,803            4,388         1,337        2,718       4,055
  Guyana                                          1,498            2,703            4,201         1,304        2,636       3,940
  All Others3                                    29,348           47,107           76,455        24,033       45,572      69,605
  Total                                       911,294         1,808,695       2,719,989       825,623 1,757,232 2,582,855




                                                                                                                                   AR0041
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                                                          6031

Table Key
D Data withheld to protect petitioners' privacy.
- Represents zero.
Footnotes
1
  The number of requests that were accepted to date of the reporting period.
2
  The number of requests that were approved to date of the reporting period.
3
  All fields with a blank in the country of birth field are included in the field "All Others."
NOTE: 1) Some requests approved or denied may have been received in previous reporting periods.
         2) The report reflects the most up-to-date estimate data available at the time the report is generated.
         3) Ranked by total approvals.
         4) USCIS previously discovered that the query code used to generate this report had some flaws affecting the data in the “Approved” and "Denied"
fields, such that the data in this field was under reported because it did not include certain history action codes that are counted as approvals or denials.
USCIS believes that it has corrected this issue in the query code and that this report provides a more accurate reflection of approved and denied cases.
Note that if this report is compared to versions prior to the March 31, 2019 version that USCIS has published on its website, the prior versions reflect under
reported data in the “Approved” and "Denied" fields.

Source: Department of Homeland Security, U.S. Citizenship and Immigration Services, Performance Report Tool, accessed January 2020.




                                                                                                                                                                 AR0042
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                                                         Accepted to Date1                       Approved to Date2
                   Residence                Initials        Renewals         Total        Initials     Renewals      Total

Residence
  California                                   256,509         519,073          775,582      238,353    504,477      742,830
  Texas                                        150,327         293,191          443,518      134,001    285,578      419,579
  Illinois                                      48,029          96,428          144,457       44,975     93,787      138,762
  New York                                      46,728          83,635          130,363       40,790     81,387      122,177
  Florida                                       38,424          70,320          108,744       32,631     68,475      101,106
  Arizona                                       33,400          67,184          100,584       30,344     65,132       95,476
  North Carolina                                31,983          66,833           98,816       29,652     65,106       94,758
  Georgia                                       30,372          58,274           88,646       25,732     56,131       81,863
  New Jersey                                    25,270          47,806           73,076       22,154     46,505       68,659
  Washington                                    20,914          43,221           64,135       19,283     41,936       61,219
  Colorado                                      20,413          40,942           61,355       18,548     39,597       58,145
  Nevada                                        15,276          32,926           48,202       14,271     32,041       46,312
  Virginia                                      13,889          27,374           41,263       12,362     26,557       38,919
  Oregon                                        12,789          27,361           40,150       12,058     26,542       38,600
  Indiana                                       11,696          24,422           36,118       10,768     23,550       34,318
  Utah                                          11,597          23,476           35,073       10,684     22,766       33,450
  Maryland                                      11,493          22,523           34,016        9,932     21,874       31,806
  Tennessee                                     10,149          20,455           30,604        9,119     19,802       28,921
  Wisconsin                                      8,755          18,000           26,755        8,194     17,514       25,708
  Oklahoma                                       8,116          16,819           24,935        7,481     16,379       23,860
  Massachusetts                                  8,855          16,159           25,014        7,683     15,722       23,405
  Kansas                                         7,794          15,805           23,599        7,314     15,335       22,649
  South Carolina                                 7,733          15,830           23,563        6,926     15,393       22,319
  New Mexico                                     8,257          14,851           23,108        7,609     14,444       22,053
  Minnesota                                      7,090          14,791           21,881        6,498     14,265       20,763
  Michigan                                       7,121          14,695           21,816        6,440     14,229       20,669
  Pennsylvania                                   6,637          12,582           19,219        5,699     12,230       17,929
  Arkansas                                       6,019          12,699           18,718        5,480     12,340       17,820
  Connecticut                                    5,459          10,381           15,840        4,883     10,126       15,009
  Alabama                                        5,283          10,521           15,804        4,704     10,242       14,946
  Ohio                                           5,326          10,377           15,703        4,628      9,983       14,611
  Missouri                                       4,042           8,321           12,363        3,742      8,050       11,792
  Nebraska                                       4,004           8,095           12,099        3,639      7,807       11,446
  Idaho                                          3,657           7,633           11,290        3,385      7,388       10,773
  Kentucky                                       3,672           7,364           11,036        3,275      7,125       10,400



                                                                                                                               AR0043
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Iowa                                                 3,227       6,965      10,192     2,921     6,722     9,643
Louisiana                                            2,458       4,643       7,101     2,148     4,511     6,659
Mississippi                                          1,845       3,520       5,365     1,604     3,425     5,029
Delaware                                             1,677       3,531       5,208     1,529     3,448     4,977
Rhode Island                                         1,335       2,610       3,945     1,169     2,520     3,689
District Of Columbia                                   869       1,648       2,517       735     1,595     2,330
Wyoming                                                745       1,426       2,171       661     1,382     2,043
Hawaii                                                 448         915       1,363       368       885     1,253
New Hampshire                                          386         766       1,152       330       736     1,066
South Dakota                                           276         560         836       240       526       766
North Dakota                                            96         335         431        74       328       402
West Virginia                                          151         281         432       125       269       394
Puerto Rico                                            271         227         498       165       221       386
Alaska                                                  94         234         328        85       218       303
Montana                                                 76         194         270        65       183       248
Maine                                                   50         119         169        44       117       161
Virgin Islands                                         126          88         214        68        85       153
Guam                                                    23          49          72        21        46        67
Vermont                                                 17          51          68        12        44        56
Armed Forces Americas (except Canada)                    D          29          36         D        26        33
Armed Forces Pacific                                     D          18          19         D        18        19
Northern Mariana Islands                                27          15          42         D        12        19
Armed Forces Africa, Canada, Europe, Middle East         -           D           D         -         D         D
Federated States Of Micronesia                           D           D           D         D         D         D
Marshall Islands                                         -           D           D         -         D         D
American Samoa                                           D           D           D         -         D         D
Not Reported3                                            D           D           D         D         D         D
Total                                              911,294   1,808,695   2,719,989   825,623 1,757,232 2,582,855




                                                                                                                   AR0044
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                                                          6034

Table Key
D Data withheld to protect petitioners' privacy.
- Represents zero.
Footnotes
1
  The number of requests that were accepted to date of the reporting period.
2
  The number of requests that were approved to date of the reporting period.
3
  All fields with a blank in the State field are included in the field "not reported."
NOTE: 1) Some requests approved or denied may have been received in previous reporting periods.
         2) The report reflects the most up-to-date estimate data available at the time the report is generated.
         3) Ranked by total approvals.
         4) USCIS previously discovered that the query code used to generate this report had some flaws affecting the data in the “Approved” and "Denied"
fields, such that the data in this field was under reported because it did not include certain history action codes that are counted as approvals or denials.
USCIS believes that it has corrected this issue in the query code and that this report provides a more accurate reflection of approved and denied cases.
Note that if this report is compared to versions prior to the March 31, 2019 version that USCIS has published on its website, the prior versions reflect under
reported data in the “Approved” and "Denied" fields.

Source: Department of Homeland Security, U.S. Citizenship and Immigration Services, Performance Report Tool, accessed January 2020.




                                                                                                                                                                 AR0045
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                                                                           AR0046
